  Case:19-06490-ESL13 Doc#:52 Filed:10/09/20 Entered:10/09/20 09:27:04   Desc: Main
                      UNITED Document
                             STATES BANKRUPTCY
                                          Page 1 of 2COURT
                          DISTRICT OF PUERTO RICO



IN RE:                                           CASE NO. 19-06490-ESL
KAREN BARRETO CRUZ
XXX-XX-5348

                                                    CHAPTER 13

      DEBTOR (S)


                   TRUSTEE'S OBJECTION TO CLAIM #13-1
  FILED BY (OR ON BEHALF OF):CONSEJO DE TITULARES CON CALA DE HUCARES

TO THE HONORABLE COURT:

    NOW COMES Jose R. Carrion, Chapter 13 Trustee, and very respectfully
alleges and prays:
   The Trustee objects to Claim #13-1, filed on April 21, 2020 for the
amount of $12,000.00, classified as SECURED on the following grounds:
• Failure to comply with Fed. R. Bankr. P. 3001(c) (2) (B)-Secured
creditor   failed to attach to the proof of claim a statement of the
amount necessary to cure any default as of the date of the petition.


   WHEREFORE the Trustee respectfully prays that this motion be granted
for the reason herein set forth and that an order be entered:
   Reclassifying objected claim as a general unsecured claim.

   NOTICE: Within thirty (30) days after service as evidenced by the
certification, and an additional three (3) days pursuant to Fed. R. Bank.
P. 9006(f) if you were served by mail, any party against whom this paper
has been served, or any other party to the action who objects to the
relief sought herein, shall serve and file an objection or other
appropriate response to this paper with the clerk's office of the United
States Bankruptcy Court for the District of Puerto Rico. If no objection
or other response is filed within the time allowed herein, the objection
will be deemed unopposed and may be granted unless:(1) the requested
relief is forbidden by law;(2) the requested relief is against public
policy; or (3) in the opinion of the court, the interest of justice
requires otherwise. If you file a timely response, the court may schedule
a hearing.

      In San Juan, Puerto Rico this Friday, October 9, 2020.

                                          /s/ Jose R. Carrion
                                          JOSE R. CARRION
                                          CHAPTER 13 TRUSTEE
                                          PO Box 9023884,Old San Juan Stat.
                                          San Juan, PR 00902-3884
                                          Tel. (787) 977-3535
                                          Fax (787) 977-3550
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                                         KAREN BARRETO CRUZ


                             VERIFIED STATEMENT


     The undersigned, of legal age and as employee of Jose R. Carrion,
Chapter 13 Trustee Office, hereby certifies that on this same date, I
personally and duly notified a true and exact copy of the attached motion
to each party below listed.

    KAREN BARRETO CRUZ                    CONSEJO DE TITULARES CON CALA DE HUCARES
    325 E CYPRESS STREET                  PO BOX 1032
    KENNETT SQUARE, PA                    NAGUABO, PR 00718
    19348-3176

    JOSE A LEON LANDRAU*
    PO BOX 1687
    CAGUAS, PR 00726-1687




    In San Juan, Puerto Rico this Friday, October 9, 2020.




                                                  ____________________
                                                     Chapter 13 Clerk
